                       IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

HELEN HOLLAND, Individually,
on behalf of herself and on behalf of
all other similarly situated current
and former employees,

                              Plaintiffs,
                                                          3:17-CV-50
v.

                                                          FLSA Opt-In Collective Action
BOJANGLES’ RESTAURANTS, INC.,                                  JURY DEMANDED
a Delaware Corporation, and
BOJANGLES’, INC.,
a Delaware Corporation,

                        Defendants.
_____________________________________________________________________________


       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)


       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff,

Helen Holland and her counsel hereby gives notice that the above-captioned action is voluntary

dismissed, without prejudice, against the Defendants Bojangles’ Restaurants, Inc. and Bojangles,

Inc.

       Dated: March 21 , 201 7              Respectfully submitted,

                                            s/ Christopher R. Strianese
                                            Christopher R. Strianese (NC Bar No. 46918)
                                            STRIANESE HUCKERT LLP
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                                            Charlotte, NC 28202
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                                            COUNSEL FOR NAMED PLAINTIFF, ON
                                            BEHALF OF HERSELF AND ALL OTHER
                                            SIMILARLY-SITUATED CURRENT  AND
                                            FORMER EMPLOYEES
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing NOTICE OF
VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i) has been filed
electronically with the Clerk’s office by using the CM/ECF system on March 21, 2017. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated on
the electronic filing receipt. Parties may access this filing through the Court’s electronic filing
system.

                                               s/Christopher R. Strianese
                                               Christopher R. Strianese




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